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                                                                         Hon. Andrea R. Wood




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


CHRISTOPHER MOEHRL, on behalf of
himself and all others similarly situated,
                                                   Civil Action No.: 1:19-cv-01610
              Plaintiff,
                                                   MEMORANDUM OF LAW IN SUPPORT
                                                   OF PLAINTIFF’S MOTION TO APPOINT
                                                   INTERIM CO-LEAD CLASS COUNSEL
v.                                                 PURSUANT TO FED. R. CIV. P. 23(g)

THE NATIONAL ASSOCIATION OF
REALTORS, REALOGY HOLDINGS
CORP., HOMESERVICES OF AMERICA,
INC., RE/MAX HOLDINGS, INC., and
KELLER WILLIAMS REALTY, INC.,

               Defendants.




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I.       INTRODUCTION

         Pursuant to Federal Rule of Civil Procedure 23(g), plaintiff Christopher Moehrl

respectfully moves the Court for an Order appointing the following law firms as plaintiff’s

Interim Co-Lead Class Counsel in the above-captioned action (the “Realtors Action”): Cohen

Milstein Sellers & Toll PLLC (“Cohen Milstein”); Hagens Berman Sobol Shapiro LLP (“Hagens

Berman”); and Susman Godfrey L.L.P. (“Susman Godfrey”) (collectively, “Proposed Interim

Co-Lead Counsel”). This motion is supported by all of the counsel for plaintiff and the proposed

class in this action. The only other plaintiff to file a similar action, Sawbill Strategies, Inc. v.

National Association of Realtors, et al., Case No. 19-cv-2544 (N.D. Ill.), supports this motion.

         Consistent with Rule 23(g) and sound principles of efficient case management, the Court

should appoint interim leadership for the proposed class at this stage of the litigation. See Manual

for Complex Litigation § 21.11 at 246 (4th ed. 2006) (the “Manual”).1 The proposed leadership

structure will ensure this complex litigation proceeds in an efficient manner. Appointment of

leadership for the proposed class will permit plaintiff’s counsel to work with counsel for

defendants on basic case management issues, such as the negotiation of pretrial orders, and to

structure and streamline communication with the Court on behalf of the plaintiff and the class he

seeks to represent.

         As demonstrated below, Proposed Interim Co-Lead Counsel—both collectively and

individually—possess the requisite expertise to lead the Realtors Action. Proposed Interim Co-

Lead Counsel’s individual track records in other complex class action litigation, as well as their

success in working cooperatively together in conducting complex class action litigation,


     1
      “[D]esignation of interim counsel clarifies responsibility for protecting the interests of the
class during precertification activities, such as making and responding to motions, conducting
any necessary discovery, moving for class certification, and negotiating settlement.” Id.


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demonstrate that they can be counted on to dedicate the time, resources, and skill required of

Interim Co-Lead Counsel under Rule 23(g). The firms have spent decades prosecuting complex

antitrust class actions with equally complex issues to those in this action, and each has a history

of winning landmark verdicts and negotiating favorable settlements for their clients. Proposed

Interim Co-Lead Counsel have already undertaken substantial investigation into the industry and

defendants’ violation of the antitrust laws and begun working with experts to analyze the conduct

at issue in this case, both confirming their dedication to plaintiff’s cause and strengthening

plaintiff’s ability to vindicate it. Plaintiff is represented by counsel with superior leadership

abilities and the substantive knowledge necessary to prosecute these claims on behalf of plaintiff

and the proposed class.

         The proposed leadership structure results from the agreement of all plaintiff’s counsel in

this action and the agreement of the only other plaintiff who has filed a similar action. Courts

generally favor such private ordering in appointing class counsel. Manual § 21.272 at 279 (“The

lawyers agree who should be lead class counsel and the court approves the selection after a

review to ensure that the counsel selected is adequate to represent the class interests.”). Plaintiff

and his counsel believe that the proposed leadership structure will best enable plaintiff to

represent the class he seeks to represent. Accordingly, because the proposal satisfies Rule 23(g)

and furthers its purposes, plaintiff respectfully requests that the Court grant this motion and enter

the proposed Order submitted with this motion.

II.      BACKGROUND

         On March 6, 2019, plaintiff filed the complaint against defendants on behalf of himself

and a class of all other similarly situated persons. In this action, plaintiff alleges that defendants

entered into an illegal conspiracy whereby they agreed that home sellers must make a unilateral




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blanket commission offer to the purchaser’s real estate broker, in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

           Since the complaint was filed, counsel have worked cooperatively to coordinate their

efforts and spoken with one voice, and by so doing, have been able to confer with defendants

with respect to their response to the complaint. Plaintiff now moves the Court for an order

permitting these cases to proceed under their agreed-upon leadership structure.

III.       ARGUMENT

           A.     Rule 23 Permits Appointment of Interim Co-Lead Counsel

                  1.      The Standards Under Rule 23(g)

           Under Rule 23(g)(3), a court has discretion whether to appoint class counsel before class

certification.2 A court considering the appointment of interim class counsel must consider the

following criteria: “(i) the work counsel has done in identifying or investigating potential claims

in the action; (ii) counsel’s experience in handling class actions, other complex litigation, and the

types of claims asserted in the action; (iii) counsel’s knowledge of the applicable law; and (iv)

the resources that counsel will commit to representing the class.” Fed. R. Civ. P. 23(g)(1)(A).

The focus in appointing interim class counsel should be the best interests of the parties, the

proposed class, and the Court.3


       2
     A court “may designate interim counsel to act on behalf of a putative class before
determining whether to certify the action as a class action.” Id.
       3
      While neither Rule 23(g) nor the Advisory Committee Notes explicitly set forth the
standards to be applied in choosing interim class counsel, courts generally apply the same factors
in choosing interim class counsel as they apply in choosing class counsel upon class certification.
See Walker v. Discover Fin. Servs., No. 10-cv-6994, 2011 WL 2160889, at *2 (N.D. Ill. May 26,
2011) (“Although neither the federal rules nor the advisory committee notes expressly so state, it
appears to be generally accepted that the considerations set out in Rule 23(g)(1)(C), which
governs appointment of class counsel once a class is certified, apply equally to the designation of
interim class counsel before certification.”); see also Hill v. The Tribune Co., 2005 WL 3299144,



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               2.      Private Ordering Among Counsel Is Encouraged

       The most common and desirable means of selecting class counsel is “private ordering.”

Manual § 21.272 at 279. That is, “[t]he lawyers agree who should be lead class counsel and the

court approves the selection after a review to ensure that the counsel selected is adequate to

represent the class interests.” Id. Efforts of plaintiffs’ counsel to coordinate their activities among

themselves are to be encouraged. Manual § 10.22 at 24.

       B.      Appointment of Interim Co-Lead Counsel Will Benefit the Plaintiff’s
               Prosecution of the Claim

       Given the complexity of the antitrust issues in this action, it is appropriate for the Court

to appoint three firms as Interim Co-Lead Counsel. These firms have significant experience

working effectively within such structures. Indeed, the proposed structure, and larger ones, are

commonplace in complex antitrust class actions, particularly when there are several defendants.

See, e.g., In re Navistar Maxxforce Engines Mktg., Sales Practices and Prods. Liability Litig.,

No. 14-cv-10318, 2015 WL 1216318, at *2 (N.D. Ill. Mar. 5, 2015) (appointing three law firms

as interim co-lead counsel and one law firm as liaison counsel); Walker, 2011 WL 2160889, at

*1 (appointing two law firms as interim co-lead counsel and one law firm as liaison counsel);

Hill v. The Tribune Co.,, 2005 WL 3299144, at *5 (N.D. Ill. Oct 13, 2005) (appointing two law

firms as interim co-lead counsel and one law firm as liaison counsel); In re Animation Workers




at *3-4 (N.D. Ill. Oct 13, 2005) (applying the Rule 23(g) criteria for consideration in appointing
class counsel to appointing interim counsel); In re Air Cargo Shipping Servs. Antitrust Litig., 240
F.R.D. 56, 57 (E.D.N.Y. 2006) (“Although neither the federal rules nor the advisory committee
notes expressly so state, it appears to be generally accepted that the considerations set out in Rule
23(g)(1)(C), which governs appointment of class counsel once a class is certified, apply equally
to the designation of interim class counsel before certification.”); Parkinson v. Hyundai Motor
Am., No. 06-cv-345, 2006 WL 2289801, at *2 (C.D. Cal. Aug. 7, 2006) (“Rule 23(g) provides
criteria to consider when appointing class counsel, without distinguishing interim counsel.
Presumably the same factors apply, however.”).


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Antitrust Litig., No. 5:14-cv-4062-LHK, ECF No. 54 (N.D. Cal. November 20, 2014)

(appointing Cohen Milstein, Hagens Berman, and Susman Godfrey as interim co-lead counsel);

In re Lithium Ion Batteries Antitrust Litig., No. 13-md-2420-YGR, ECF Nos. 194, 229 (N.D.

Cal. May 17, 2013 and July 10, 2013) (appointing three firms as interim co-lead counsel, one

firm as liaison counsel, and a seven-firm steering committee); In re Dynamic Random Access

Memory (DRAM) Antitrust Litig., No. 4:02-md-01486-PJH, ECF No. 572 (N.D. Cal. Sept. 20,

2005), (appointing four firms as co-lead counsel for indirect purchasers); In re Methionine

Antitrust Litig., No. 00-md-01311-CRB, ECF No. 5 (N.D. Cal. Feb. 23, 2000) (four firms

appointed as co-lead class counsel); In re Nexium (Esomeprazole) Antitrust Litig., No. 12-md-

02409-WGY, ECF No. 85 at 5-6 (D. Mass. Jan. 16, 2013) (appointing four firms as interim co-

lead counsel and six firms to an executive committee); In re Loestrin 24 Fe Antitrust Litig., No.

13-md- 02472-S-PAS, ECF No. 85 at 2-5 (D.R.I. Feb. 14, 2014) (appointing four firms as

interim co-lead counsel).

       As illustrated below, the appointment of these three highly experienced firms as Interim

Co-Lead Counsel will allow plaintiff to efficiently and effectively manage this litigation, draw

on each firm’s knowledge and experience, and combine forces to litigate against formidable

defendants and their counsel.

       C.      Cohen Milstein, Hagens Berman, and Susman Godfrey Are Eminently
               Qualified to Be Interim Co-Lead Counsel

       Proposed Interim Co-Lead Counsel each have extensive antitrust class action experience

and have successfully litigated some of the most complex private antitrust cases in the last two

decades. Their collective and respective individual litigation experience—as discussed below as

well as in the profiles attached to the concurrently filed Declarations of Daniel A. Small, Steve

W. Berman, and Marc M. Seltzer—amply demonstrates that Plaintiff’s Proposed Interim Co-



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Lead Class Counsel have extensive knowledge of the relevant law, as well as the resources for

effective representation of plaintiff and the class, and the proven ability to reach superior results

for parties injured by anticompetitive practices.

       Not only are Cohen Milstein, Hagens Berman, and Susman Godfrey well-qualified to

serve as Interim Co-Lead Class Counsel in this case, all three firms have a demonstrated record

of successfully working together to co-lead counsel in conducting complex class action

litigation. For example, the firms have cooperatively and productively collaborated in

prosecuting class action cases, often in leadership roles, on the following matters:

              In re Animation Workers Antitrust Litigation, (N.D. Cal.) (securing approximately
               $168 million for animation workers);

              In re Elec. Books Antitrust Litigation (S.D.N.Y.) (securing $560 million for e-
               book purchasers);

              In re Dental Supplies Antitrust Litigation (E.D.N.Y.) (motion for final approval of
               settlement filed);

              In re Resistors Antitrust Litigation (N.D. Cal.) (ongoing case);

              Mayor and City Council of Baltimore v. Actelion Pharmaceuticals (D. Md.)
               (ongoing case);

              In re Qualcomm Antitrust Litigation (N.D. Cal.) (ongoing case);

              In re Flint Water Cases (E. D. Mich.) (ongoing case); and

              Nix v. The Chemours Company FC, LLC et al. (E.D.N.C.) (ongoing case).

       Thus, not only are Cohen Milstein, Hagens Berman, and Susman Godfrey committed to

working together efficiently and effectively in prosecuting complex litigation, but they have an

established record of doing so in previous class action cases.

               1.      Cohen Milstein Sellers & Toll PLLC

       With its roots tracing back to 1970, and with more than ninety attorneys, Cohen Milstein

is one of the oldest and largest firms in the nation dedicated primarily to the prosecution of class


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actions. See Exhibit A, Resume of Cohen Milstein Sellers & Toll PLLC. Cohen Milstein has

particular expertise in enforcing federal and state antitrust laws, with twenty-six lawyers

dedicated to antitrust practice specifically.

       Cohen Milstein possesses the resources and the expertise to litigate large antitrust class

actions successfully, including through trial and appeal, against the large firms that typically

represent defendants in these cases. For example, in the case In re Urethane Antitrust Litigation

(D. Kan.), Cohen Milstein and its co-counsel secured the largest ever price-fixing jury verdict

against defendant Dow Chemicals ($1.06 billion after trebling and offsets for the pretrial

settlements), defended the judgment on appeal in the United States Court of Appeals for the

Tenth Circuit, and recouped $974 million for the class including an $835 million settlement with

Dow Chemicals while Dow’s petition for certiorari was pending. In approving the firm’s

petition for fees, United States District Judge John W. Lungstrum commented on these efforts:

       Hundreds of millions were at stake here, and counsel achieved incredible success
       on the merits of the claims. . . . The case was not settled pretrial for a percentage
       of the damages, nor was it settled on appeal for a steep discount from the
       judgment amount; instead counsel litigated the case to a verdict and an appellate
       affirmance. Counsel achieved this verdict and judgment without the benefit of a
       government investigation or prosecution of members of the alleged antitrust
       conspiracy. The subject matter was complex and not easily digestible by a lay
       jury, and there were no personal injuries to heighten sympathy. In almost 25
       years of service on the bench, this Court has not experienced a more remarkable
       result. Memorandum and Order, In re Urethane Antitrust Litig., MDL No. 1616
       (July 29, 2018), ECF No. 3272 at 10-11.

Memorandum and Order, In re Urethane Antitrust Litig., MDL No. 1616 (July 29, 2018), Dkt. No.

3272 at 10-11.

       The senior members of the Cohen Milstein litigation team in this matter will provide the

putative class with the highest level of representation: Daniel A. Small, Kit A. Pierson, and

Benjamin D. Brown.




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       Daniel A. Small has made a career of prosecuting antitrust class actions. His experience

includes negotiating settlements totaling hundreds of millions of dollars, trying cases to verdict,

and arguing cases in numerous appellate courts including the U.S. Supreme Court. For example,

Mr. Small has been appointed lead counsel or has been part of the leadership team for Cohen

Milstein when it was appointed lead counsel in the following antitrust class actions:

              In re: Animation Workers Antitrust Litig. (N.D. Cal) (secured $168.5 million in
               settlements);

              Pease v. Jasper Wyman Son, Inc. (Maine Sup. Ct.) (secured a $56 million jury
               verdict); and

              In re Buspirone Antitrust Litig. (S.D.N.Y.) (secured $90 million in settlements).4

       Kit A. Pierson brings experience representing both defendants and plaintiffs in significant

antitrust and complex litigation across the country. Before joining Cohen Milstein in 2009, Mr.

Pierson worked primarily on the defense side for more than twenty years. He gained significant

experience in class action defense and was one of Microsoft Corporation’s trial lawyers in two

lengthy antitrust class action trials. Since joining Cohen Milstein in 2009, Mr. Pierson has used

that experience to the benefit of the classes he has represented, securing almost $2 billion in

settlements and judgments. Mr. Pierson was one of the trial lawyers for the plaintiff class in

Urethanes and has been appointed lead counsel in numerous cases, including:

              In re Domestic Drywall Antitrust Litig. (E.D. Pa.) (secured $190 million in
               settlements);

              In re Elec. Books Antitrust Litig. (S.D.N.Y.) (secured over $550 million in
               settlements).5


   4
     See also UFCW & Employers Benefit Trust v. Sutter Health (Cal. Sup. Ct.) (ongoing); Shane
Grp. v. Blue Cross Blue Shield of Mich. (E.D. Mich.) (secured the class $30 million in settlements).
   5
     See also In re: Pre-Filled Propane Tank Antitrust Litig. (W.D. Mo.) (ongoing); In re: Ductile
Iron Pipe Fittings Direct Purchaser Antitrust Litig. (D. N.J.) (secured the class $17.3 million in



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Mr. Pierson also co-teaches (with Mr. Brown) a class in Complex Litigation at Georgetown

University Law School, which covers a broad range of class action issues.

        Benjamin D. Brown is co-chair of the Antitrust Group at Cohen Milstein. Before joining

Cohen Milstein in 2005, Mr. Brown represented defendants in antitrust matters and served as a

Trial Attorney in the U.S. Department of Justice Antitrust Division and as a Special Assistant

United States Attorney. In nearly fifteen years representing plaintiffs in antitrust class actions,

Mr. Brown has been part of the leadership team in the following cases where Cohen Milstein

was appointed lead or interim lead counsel:

               Cung Le v. Zuffa LLC (D. Nev.) (ongoing);

               Carlin v. Dairy America Inc. (E.D. Cal.) (secured $40 million in settlements); and

               Allen v. Dairy Farmers of America (D. Vt.) (secured $80 million in settlements)

Mr. Brown also serves on the Advisory Board of the Institute for Consumer Antitrust Studies at

Loyola University Chicago’s School of Law and is co-teaching Complex Litigation with Mr.

Pierson at Georgetown University Law School.

        All told, Cohen Milstein has both the skills and expertise to serve as class counsel.6 The

firm and its attorneys are dedicated to litigation in the public interest, both in the antitrust space

and outside of it. For example, Carol V. Gilden, another member of the Cohen Milstein team in

this case, currently represents the City of Chicago in litigation against online hotel retailers


settlements); In re: Resistors Antitrust Litig. (N.D. Cal.) (ongoing); In re: Cast Iron Soil Pipe and
Fittings Antitrust Litig. (E.D. Tenn.) (secured the class $30 million in settlements).
    6
      These skills and expertise have been recognized by industry associations and legal
publications including with the following recent awards. Cohen Milstein was chosen by the Legal
500 for nine straight years as one of the top antitrust class action firms in the country and by the
National Law Journal in 2016 and 2018 as a “Winner” and “Finalist” respectively in the “Elite
Trial Lawyers – Antitrust” category. Dan Small and Kit Pierson have been recognized by Law
Dragon as two of the 500 Leading Lawyers in America and Ben Brown as a “Thought Leader –
Competition” by Who’s Who Legal.


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seeking to ensure that those retailers remit taxes to the City. And the firm, along with co-counsel

Susman Godfrey, serves as co-lead counsel representing the citizens of Flint, Michigan in

litigation arising out of the Flint Water Crisis. Cohen Milstein will bring this expertise and

dedication to bear on adequately and zealously representing the proposed class’s interests.

               2.      Hagens Berman Sobol Shapiro LLP

       Hagens Berman is a sixty-lawyer firm, with offices in Seattle, Boston, Chicago, Colorado

Springs, Los Angeles, New York, Phoenix, San Francisco and Washington, D.C. Since its

founding in 1993, Hagens Berman has represented plaintiffs in a broad spectrum of complex,

multi-party antitrust cases. Hagens Berman was named to The National Law Journal’s Plaintiffs’

Hot List in 2006, 2007 and each of the years 2009 to 2013. In 2014, The National Law Journal

named Hagens Berman to its inaugural list of America’s Elite Trial lawyers – a compilation of

the nation’s leading firms bringing about significant change and major plaintiffs’ settlements in

complex litigation.

       The attorneys principally responsible for this litigation will include Steve Berman,

managing partner, and Jeff Friedman. Recent examples of the success of Hagens Berman’s lead

counsel experience in complex antitrust cases include the following cases, in addition to the

Animators litigation described above:

          In re Electronic Books Antitrust Litig, No. 11-md-2293 (S.D.N.Y.): As described
           above, Hagens Berman and Cohen Milstein are co-lead counsel in this complex piece
           of litigation involving six defendants, 33 State Attorneys General and the
           Department of Justice. Settlements in the case totaled over $560 million, representing
           recovery of approximately double class members’ damages.

          In re National Collegiate Athletic Association Athletic Grant-In-Aid Cap Antitrust
           Litigation., No. 4:14-md-02541 (N.D. Cal.): The firm served as co-lead counsel on
           behalf of student athletes in this class-action lawsuit against the National Collegiate
           Athletic Association and collegiate athletic conferences. Settlements in this case
           totaled over $200 million and the Court granted injunctive relief on behalf of the
           class following a bench trial.




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          In re Optical Disk Drive Products Antitrust Litigation., No. 03-md-02143 (N.D.
           Cal.): The firm served as sole lead counsel on behalf of indirect purchasers in this
           class-action suit against the leading ODD (Optical Disc Drive) manufacturers,
           claiming the companies secretly colluded to fix the prices of ODDs. Settlements in
           this case totaled over $200 million.

          In re DRAM Antitrust Litig., No. 02-md-01486 (N.D. Cal.): The firm played a key
           role in this class-action suit against the leading DRAM (Dynamic Random Access
           Memory) manufacturers, claiming the companies secretly agreed to reduce the
           supply of DRAM, which artificially raised prices. DRAM is a necessary component
           in a wide variety of electronics including personal computers, cellular telephones,
           digital cameras, and many other devices, and the class included equipment
           manufacturers, franchise distributors, and smaller-volume customers who purchased
           DRAM. The case settled for $345 million.

          In re Visa Check/Mastermoney Antitrust Litig., No. 96-cv-05238 (E.D.N.Y.):
           Hagens Berman helped lead this record-breaking antitrust case against credit card
           giants Visa and MasterCard, which resulted in a $3.05 billion cash settlement and
           injunctive relief valued at more than $20 billion. The suit challenged charges
           imposed in connection with debit cards. As co-lead counsel in this matter, the firm
           assisted in setting strategy and providing oversight on all aspects of the case.

       Mr. Berman, the managing partner of Hagens Berman, has served as lead or co-lead

counsel in antitrust, securities, consumer, products liability, and employment class actions, and

complex litigations throughout the country. For example, Mr. Berman was the lead trial lawyer

in In re National Collegiate Athletic Association Athletic Grant-In-Aid Cap Antitrust Litigation,

MDL No. 2541 (N.D. Cal.) where the class obtained injunctive relief following a bench trial. Mr.

Berman questioned numerous witnesses and gave the closing argument at trial. Mr. Berman was

sole lead class counsel in In re: Stericycle, Inc., Steri-Safe Contract Litigation, Case No. 13 C

5795, MDL No. 2455 (D. N.D. Ill.) where the class obtained $295 million in settlements and

injunctive relief. Judge Shadur stated in his preliminary approval order that the settlement

demonstrated the “type of high quality work product that this Court anticipated when it designated

Hagens Berman and its lead partner Steve Berman as class counsel.” Memorandum and Order, In

re: Stericycle, Inc., MDL No. 2455 (October 26, 2017), ECF No. 310 at 3. At the preliminary

approval hearing, Judge Shadur further stated that the “total presentation” of Hagens Berman “has

more than validated . . . my appointment of them . . . as class counsel.” Berman Decl., Ex. D at 8.


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       Mr. Berman was also lead trial lawyer in In re Pharm. Indus. Average Wholesale Price

Litig., MDL No. 1456 (D. Mass.). He tried the class case against four manufacturers and

successfully argued the appeal from the trial before the First Circuit. Mr. Berman was also the

lead counsel in New England Carpenters v. First DataBank, et al., No. 05-11148-PBS (D.

Mass.), on behalf of a nationwide class of private payors that purchased prescription brand name

drugs. Hagens Berman achieved a $350 million settlement eleven days before trial was

scheduled to start. Recently, in In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales

Practices, and Prods. Liab. Litig., No. 8:10ML2151 (C.D. Cal.), Judge James V. Selna sua

sponte identified Mr. Berman as a presumptive co-lead counsel when Judge Selna was assigned

the Toyota MDL (along with Marc M. Seltzer at Susman Godfrey). Perhaps most notable is Mr.

Berman’s role as a special assistant attorney general for the states of Washington, Arizona,

Illinois, Indiana, New York, Alaska, Idaho, Ohio, Oregon, Nevada, Montana, Vermont, and

Rhode Island in the landmark Tobacco Litigation. That case resulted in the largest settlement in

history, a settlement that occurred while Mr. Berman was in trial in State of Washington v. Philip

Morris, et al.

       Hagens Berman partner Jeff Friedman will be included on the Hagens Berman team. Mr.

Friedman was an integral part of the case teams for In re Optical Disk Drive and In re Electronic

Books, both cases where Hagens Berman recovered hundreds of millions of dollars on behalf of

injured consumers. Mr. Friedman was also a member of the trial team for In re NCAA, including

cross examining the primary expert witness economist for the defendants at trial.

       Further details about the experiences and background of the firm and the attorneys

working on this matter are set forth in the Berman Declaration and its attached exhibits, filed

concurrently herewith.




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                3.     Susman Godfrey L.L.P.

         Since the firm’s founding in 1980, Susman Godfrey has served as lead counsel in

hundreds of antitrust class actions and other complex commercial disputes in courts throughout

the country. Susman Godfrey’s practice is dedicated exclusively to litigating and trying lawsuits.

The firm has represented clients in some of the largest and most complex cases ever litigated and

has demonstrated that it has the ability and resources to handle those cases effectively and

efficiently. Susman Godfrey’s experience is not confined to a single practice area. Rather, the

firm has successfully represented its clients in a wide range of complex commercial disputes,

including antitrust and securities class actions. Susman Godfrey’s experience is more fully

detailed in its firm resume attached as Exhibit A to the Declaration of Marc M. Seltzer (“Seltzer

Declaration”), filed concurrently herewith.

         Susman Godfrey’s experiences, track record of success and staying power are reflected in

its wide recognition as one of the nation’s leading trial firms, including by The American Lawyer

in its first-ever “Litigation Boutique of the Year” competition and, more recently, by being

named in 2014 and 2018 to National Law Journal’s “America’s Elite Trial Lawyers” list. The

firm’s lawyers are consistently recognized as “Super Lawyers” and “Rising Stars” in the states

where they practice. Susman Godfrey has over one hundred lawyers nationwide in its four

offices, over 90% of whom served in federal judicial clerkships after law school. Ten of Susman

Godfrey’s attorneys have clerked at the highest level—for Justices of the United States Supreme

Court.

         Susman Godfrey’s success in trying antitrust cases has made the firm one of the most

trusted and sought-after firms in the country for antitrust class actions. Susman Godfrey has tried




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more than a dozen significant antitrust cases to a jury, yielding over $1 billion in verdicts, and

has been appointed to serve as lead or co-lead counsel in numerous antitrust class actions,

including the following cases in addition to the Animation Workers class action described above:

 •       In re Automotive Parts Antitrust            •      White v. Nat’l Collegiate Athletic
 Litigation (E.D. Mich.)                             Ass’n (C.D. Cal.)

 •       In re Crude Oil Commodity Futures           •       In re Ready-Mixed Concrete Antitrust
 Litigation (S.D.N.Y.)                               Litigation (S.D. Ind.)

 •      In re LIBOR-Based Fin. Instruments           •      In re Universal Serv. Fund Tel. Billing
 Antitrust Litigation (S.D.N.Y.)                     Practices Litigation (D. Kan.)

 •       In re Municipal Derivatives Antitrust       •      In re Lease Oil Antitrust Litigation
 Litigation (S.D.N.Y.)                               (S.D. Tex.)

 •        Behrend v. Comcast Corp. (E.D. Pa.)        •     In re Vitamins Antitrust Litigation
                                                     (D.D.C.)
 •       In re Korean Air Lines Co. Antitrust
 Litigation (C.D. Cal.)                              •       In re Commercial Explosives Antitrust
                                                     Litigation (D. Utah)
 •      In re Processed Egg Products
 Antitrust Litigation (E.D. Pa.)                     •      In re Qualcomm Antitrust Litigation
                                                     (N.D. Cal.)
 •     In re Vitamin C Antitrust Litigation
 (E.D.N.Y.)


         Marc M. Seltzer, one of Susman Godfrey’s most senior lawyers and resident head of the

firm’s Los Angeles office, will oversee the firm’s trial efforts in this litigation. Mr. Seltzer has

practiced law for more than forty-five years, litigating complex business law cases in state and

federal courts throughout the United States. Mr. Seltzer has been appointed to serve as lead

counsel for the plaintiffs in numerous antitrust and other class action cases. Mr. Seltzer leads the

firm’s efforts as co-lead counsel for the end-payor plaintiffs in the Automotive Parts Antitrust

Litigation, where over $1.2 billion in partial settlements has been obtained for the benefit of the

classes he represents. In 2013, Mr. Seltzer was named a Law360 “Class Action MVP,” one of




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only three attorneys named nationwide. Mr. Seltzer was recognized for, among other

achievements, serving as one of three co-lead counsel who helped to obtain an unprecedented

settlement valued by the court at approximately $1.6 billion in the Toyota unintended

acceleration litigation (In re Toyota Motor Corp. Unintended Acceleration Marketing Sales

Practices, and Product Liability Litigation)—a case in which he served as co-lead counsel with

Steve W. Berman of Hagens Berman. Mr. Seltzer has also represented parties in securities,

intellectual property, and other complex commercial litigation. He was recently named one of the

top 100 lawyers in California by the Los Angeles Daily Journal. He has also been included in the

International Who’s Who of Competition Lawyers & Economists, as one of the top antitrust

lawyers in the world. Mr. Seltzer is a Life Member of the American Law Institute and is also a

member of the Advisory Board of the American Antitrust Institute.

       Susman Godfrey partners Steven Sklaver and Matthew Berry will be included on the

Susman Godfrey team. They likewise collectively enjoy extensive antitrust and class action

experience. Mr. Sklaver, along with Mr. Seltzer, represented the class in White, et al. v. NCAA,

an antitrust class action alleging that the NCAA violated the federal antitrust laws by restricting

amounts of athletic-based financial aid to student athletes. The NCAA settled and made available

$218 million for use by current student-athletes to cover the costs of attending college and $10

million to cover educational and professional development expenses for former student-athletes.

Mr. Berry served as an integral part of the Susman Godfrey team in the Animation Workers

action and represents the over-the-counter plaintiffs in the LIBOR class action currently pending

in the Southern District of New York, where partial settlements totaling $590 million have been

obtained. Susman Godfrey associate Beatrice Franklin will also be included on the Susman

Godfrey team. Ms. Franklin joined Susman Godfrey in 2018 after completing clerkships with the




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Honorable Jesse Furman (S.D.N.Y), the Honorable Susan Carney (2d Cir.), and the Honorable

Ruth Bader Ginsburg (S. Ct.).

       Further details about the experiences and background of the firm and the attorneys

working on this matter are set forth in the Seltzer Declaration and its attached exhibits, filed

concurrently herewith.

       D.      Proposed Interim Co-Lead Counsel Have Undertaken the Investigation and
               Research Underpinning the Realtors Action

       Rule 23(g)(A)(1)(i) directs the Court to consider “the work counsel has done in

identifying and investigating” claims in the present action when weighing the appointment of

lead counsel. Proposed Interim Co-Lead Counsel have invested substantial time and effort into

researching the claims, analyzing the industry, and determining the scope of the claims in this

action. Before filing the complaint, counsel conducted an independent investigation into the

matters alleged in plaintiff’s complaint. Proposed Interim Co-Lead Counsel have also consulted

with leading experts to advise on the conduct at issue in this action.

       E.      Proposed Interim Co-Lead Counsel Have Organized Plaintiff’s Counsel and
               Managed the Litigation Effectively

       Since before the complaint was filed, plaintiff’s counsel began working together to

present a cohesive, coordinated front with respect to all issues relating to this action, including

dealing with defendants once the complaint was filed. To that end, plaintiff’s counsel have also

met and conferred with defendants concerning the case schedule for defendants’ deadline to

respond to the complaint.

       F.      Proposed Interim Co-Lead Counsel Have Substantial Experience in Leading
               the Prosecution of Class Actions

       Rule 23(g)(1)(A)(ii) directs the Court to consider proposed class counsel’s experience “in

handling class actions, other complex litigation, and the types of claims asserted in the [present]



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action.” As set forth above and in the firm profiles attached to the Small, Berman, and Seltzer

Declarations, Proposed Interim Co-Lead Counsel have decades of substantial experience

prosecuting complex class action litigation on behalf of a wide variety of plaintiffs, including

cases involved in complex antitrust conspiracies.

       G.      Proposed Interim Co-Lead Counsel Have the Requisite Knowledge and
               Expertise to Prosecute this Action

       Rule 23(g)(1)(A)(iii) directs the Court to consider “counsel’s knowledge of the applicable

law” in the present case. This consideration is essential in the context of a complex antitrust case

such as the present one. Proposed Plaintiff’s Interim Co-Lead Class Counsel are well-versed in

the antitrust laws and prosecuting cartel cases in particular. Indeed, a significant amount of the

proposed Plaintiff’s Interim Co-Lead Class Counsel’s overall respective caseloads and practices

are dedicated to prosecuting both federal and state antitrust law claims in courts throughout the

nation, and their successes in these cases have significantly advanced the law. See Small,

Seltzer, and Berman Declarations.

       H.      Proposed Interim Co-Lead Counsel Will Commit the Time, Staffing, and
               Monetary Resources Necessary to Prosecute These Actions

       By bringing the Realtors Action, plaintiff likely faces a lengthy, logistically complex, and

resource-intensive fight. Defendants include some of the largest real estate companies in the

world, many with annual revenues exceeding $1 billion. As with any complex class action,

especially those asserting antitrust claims, the economic issues in these cases will require

substantial expert analysis, and discovery is likely to entail extensive documents and many

depositions. Counsel chosen to prosecute the plaintiff class’ claims must be able to dedicate

significant resources to advance the class’s claims. See Fed. R. Civ. P. 23(g)(1)(A)(iv).

       Proposed Interim Co-Lead Counsel have the necessary roster of talented attorneys and

capable professional staff, and the monetary resources, to advance the class’s interests efficiently


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and aggressively and to pursue all necessary avenues of discovery. See Small, Seltzer, and

Berman Declarations. In this case, plaintiff’s counsel will likely be required to devote very

substantial amounts of time and financial resources to successfully prosecute this action in the

face of anticipated opposition by major law firms supported by large corporate treasuries arrayed

against them. Together, Proposed Interim Co-Lead Counsel constitute a leadership structure

equal to the challenges they will face in this litigation, while at the same time ensuring that the

actions progress in the most efficient and professional manner.

IV.    CONCLUSION

       For the forgoing reasons, plaintiff respectfully submits that the Court should appoint as

Plaintiff’s Interim Co-Lead Class Counsel Cohen Milstein, Hagens Berman, and Susman

Godfrey.

DATED: April 18, 2019                             HAGENS BERMAN SOBOL SHAPIRO LLP

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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on April 18, 2019, a true and correct

copy of the foregoing was electronically filed by CM/ECF, which caused notice to be sent to all

counsel of record.

                                                       s/ Steve W. Berman
                                                      STEVE W. BERMAN




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